 Case 1:23-cv-01424-RGA Document 10 Filed 02/07/24 Page 1 of 2 PageID #: 103




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

IN RE DIGITALOCEAN HOLDINGS                         )
INC. STOCKHOLDER DERIVATIVE                         ) Lead Case:. No. 23-cv-1424 (RGA)
LITIGATION                                          )
                                                    ) Consolidated with Case No. 23-cv-
                                                    ) 1433-RGA
This Document Relates to:                           )
ALL ACTIONS                                         )
                                                    )

        STIPULATION OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       WHEREAS, the parties agree to the voluntary dismissal of this Consolidated Derivative

Action in its entirety without prejudice;

       WHEREAS, defendants have not answered, moved to dismiss, or otherwise responded to

a complaint; and

       WHEREAS, no payment has been made or will be paid to any party or their counsel in

connection with the voluntary dismissal.

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between

the parties, through their undersigned counsel that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), that:

       1. This Consolidated Derivative Action is dismissed without prejudice.

       2. Each party shall bear its own attorneys’ fees and costs.
Case 1:23-cv-01424-RGA Document 10 Filed 02/07/24 Page 2 of 2 PageID #: 104




Dated: February 7, 2024                           Respectfully submitted,

FARNAN LLP                                        MORRIS, NICHOLS, ARSHT
                                                   & TUNNEL LLP

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                                 SO ORDERED this 7th day of February, 2024

                                 /s/ Richard G. Andrews
                                 United States District Judge
